AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original
                                                                                                                              Nov 29, 2024

                                                                                                                                 s/ Mariah Kauder

                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
           (Briefly describe the property to be searched                    )
            or identify the person by name and address)                     )      Case No. 24-M-560 (SCD)
   The person of and personal effects in the immediate control              )
     of KENYA QUIROZ and to seize any cellular device in
   QUIROZ possession, as further described in Attachment A
                                                                            )
                                                                            )

                 :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                        Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  See Attachment A.




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  See Attachment B.




        YOU ARE COMMANDED to execute this warrant on or before              12-13-24                   (not to exceed 14 days)
      ✔
      u in the daytime 6:00 a.m. to 10:00 p.m. u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                      Hon. Stephen C. Dries                  .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                                .

                                 11-29-24. 9:00 am
Date and time issued:
                                                                                                          Judge’s signature

City and state: Milwaukee, WI                                                        Honorable Stephen C. Dries, U.S. Magistrate Judge
                                                                                                        Printed name and title
                        Case 2:24-mj-00560-SCD                      Filed 11/29/24     Page 1 of 27          Document 1
AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




                         Case 2:24-mj-00560-SCD                      Filed 11/29/24      Page 2 of 27          Document 1
                                       ATTACHMENT A

                              Person and Property to Be Searched

The person to be searched is KENYA QUIROZ (DOB: 04/27/1999).


The property to be searched is any cellular device (“the target cellphone(s)”) found on the person,

in the presence of, or in the personal effects in the immediate control of KENYA QUIROZ (DOB:

04/27/1999).


During the execution of the search described in Attachment A, law enforcement personnel are

authorized to (1) press or swipe the fingers (including thumbs) of KENYA QUIROZ (DOB:

04/27/1999) to the fingerprint scanner of the target cellphone(s); (2) hold the target cellphone(s)

in front of the face of KENYA QUIROZ (DOB: 04/27/1999) and activate the facial recognition

feature, for the purpose of attempting to unlock the device in order to search the contents as

authorized by this warrant.




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                                      ATTACHMENT B

                                      Items to be Seized

       All records and information contained in the target cellphone(s), more fully described in

Attachment A, that relate to violations of 18 U.S.C. §1512, involving Ronnell BOWMAN, Kenya

QUIROZ, or their co-conspirators, including but not limited to the following:


       1.     Any contacts, messages, or communications between GRANT, QUIROZ,

              BOWMAN, or his associates.

       2.     Any records and information about Ronnie JACKSON.

       3.     Any records and information about attempting to locate, contact, or intimidate

              particular inmates at the Kenosha County Detention Center by BOWMAN or his

              associates.

       4.     Any records and information about pending criminal cases involving Ronnell

              BOWMAN.

       5.     Any records and information relating to Monique GRANT’s Facebook account,

              and the custody and control of that account.

       6.     Any records and information relating to Kenya QUIROZ’s Facebook account, and

              the custody and control of that account.

       7.     Any records and information about the Wild 100’s or the Shark Gang.

       8.     Evidence of user attribution showing who used or owned the target cellphone(s) at

              the time the things described in this warrant were created, edited, or deleted, such

              as logs, phonebooks, saved usernames and passwords, documents, and browsing

              history.




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       As used above, the terms “records” and “information” include all of the foregoing items of

evidence in whatever form and by whatever means they may have been created or stored.

       This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be conducted

by any government personnel assisting in the investigation, who may include, in addition to law

enforcement officers and agents, attorneys for the government, attorney support staff, and technical

experts.




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AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means
                                                                                                                                      Nov 29, 2024
                                      UNITED STATES DISTRICT COURT                                                                 s/ Mariah Kauder
                                                                   for the
                                                       Eastern District
                                                     __________         of Wisconsin
                                                                 District  of __________

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No. 24-M-560 (SCD)
The person of and personal effects in the immediate control                  )
  of KENYA QUIROZ and to seize any cellular device in                        )
QUIROZ's possession, as further described in Attachment A                    )

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
 See Attachment A.

located in the              Eastern               District of                 Wisconsin               , there is now concealed (identify the
person or describe the property to be seized):
 See Attachment B.


          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
               ✔ evidence of a crime;
               u
               u contraband, fruits of crime, or other items illegally possessed;
                 ✔ property designed for use, intended for use, or used in committing a crime;
                 u
                 u a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
             Code Section                                                               Offense Description
        18 U.S.C. § 1512                          witness tampering



          The application is based on these facts:
        See attached affidavit.

           ✔ Continued on the attached sheet.
           u
           u Delayed notice of        days (give exact ending date if more than 30 days:                                   ) is requested under
             18 U.S.C. § 3103a, the basis of which is set forth on the attached   d ssheet.
                                                                                      heet.


                                                                                                     Applicant’s
                                                                                                     Applic
                                                                                                          cant’s signature

                                                                                                  Jake Dettmering, FBI SA
                                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                      telephone                       (specify reliable electronic means).


Date:
            11-29-24
                                                                                                       Judge’s signature

City and state: Milwaukee, WI                                                      Honorable Stephen C. Dries, U.S. Magistrate Judge
                   Case 2:24-mj-00560-SCD                       Filed 11/29/24              Page 6 ofPrinted
                                                                                                       27 name and title
                                                                                                             Document    1
                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Jacob Dettmering, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal Rules

of Criminal Procedure for a search warrant to search the person of and personal effects in the

immediate control of KENYA QUIROZ (DOB: 04/27/1999) and to seize any cellular device in

QUIROZ possession (“target cellphone(s)”), and the extraction from that target cellphone(s) of the

electronically stored information described in Attachment B.

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) and have

been since January 7, 2018. I was assigned to the FBI Capital Area Gang Task Force (CAGTF) in

Baton Rouge, Louisiana from June 15, 2018, to April 1, 2020. Since April 1, 2020, I have been

assigned as the Task Force Coordinator for the Milwaukee Area Safe Streets Task Force

(MASSTF). Since 2018, I have investigated violations of federal law, directed drug and street gang

investigations, obtained, and executed search and arrest warrants related to the distribution of

illegal narcotics and violent crimes, and debriefed confidential informants and cooperating

defendants. I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7), in that I am empowered by law to

conduct investigations of and to make arrests for federal offenses.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.




                                                 1

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       4.      I know from training and experience that it is common for criminals of all sorts to

communicate by cellular phone through a variety of electronic media. These criminals can use text

messaging, phone calls, electronic mail, messaging applications, and various social media

applications such as Facebook, Snapchat, and Twitter to communicate about, organize, and

commit criminal activity. Furthermore, based on my training and experience, I know that social

media applications such as Facebook are a common way for people with relatively little real-world

connection to be able to locate one another and communicate.

       5.      Based on my training and experience, I also know that people often carry their

cellular devices on their person or in personal effects in their immediate control. For that reason,

there is probable cause to search the person and personal effects of KENYA QUIROZ for the target

cellphone(s), to seize the target cellphone(s), and to extract the electronically stored information

described in Attachment B from the target cellphone(s).

       6.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that violations of 18 U.S.C. § 1512 have been committed by Ronnell

Bowman, Kenya Quiroz, and other unknown persons. There is also probable cause to search the

person and personal effects in the immediate control of KENYA QUIROZ for a cell phone(s)

(“target cellphone(s)”), and probable cause to search the target cellphone(s) for evidence of these

violations, as described in Attachment B.

                                          PROBABLE CAUSE

       7.      Beginning in February 2021, the ATF, MPD, and FBI, have been investigating

identified members of the Wild 100’s, a violent street gang in Milwaukee, also known as the Shark

Gang, including Ronnie JACKSON, Lawrence TURNER, and Ronnell BOWMAN, among others,

for federal firearms offenses and federal program fraud.



                                                 2

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       8.     As a result of this investigation, BOWMAN and JACKSON were charged in the

Eastern District of Wisconsin in Case No. 23-CR-077 with a conspiracy to commit murder for

hire, and BOWMAN, JACKSON, TURNER, and 26 other defendants were charged with

conspiracy to commit mail fraud and other crimes. While the vast majority of the defendants have

since pled guilty, the trial in this case was tentatively scheduled to begin in November 2024. On

October 8, 2024, the grand jury returned a superseding indictment against BOWMAN, JACKSON,

and TURNER for mail fraud conspiracy, murder for hire, conspiracy to commit murder for hire,

and conspiracy to commit firearms offenses.

       9.     I know from a review of jail calls and messages placed by BOWMAN in the days

following the superseding indictment that BOWMAN began to express concern that JACKSON

would testify against him, and that BOWMAN began a pressure campaign against JACKSON to

prevent JACKSON from testifying against BOWMAN at trial. During these jail calls and

messages, BOWMAN spoke with JACKSON’s mother, sister, and child’s mother and complained

to them that JACKSON is “police” and “lying on me” and that they need, for example to: “talk to

your son.”

       10.    I also know that on or about October 3, 2024, JACKSON was moved to Kenosha

County Detention Center (KCDC) for his safety. I also know that BOWMAN is currently housed

at Ozaukee County Jail but had previously been housed for several months at KCDC.

       11.    I am aware of an individual named Kenya QUIROZ, a female with the phone

number of 414-530-1918, who has been in communication via jail calls with both BOWMAN and

JACKSON.      I know that JACKSON has identified QUIROZ as a girlfriend, and that this

description seems consistent with their recorded conversations.




                                                3

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        12.        On or about October 12, 2024, BOWMAN spoke with QUIROZ at 414-530-1818

on a jail call (74294500_178988) and in summary, BOWMAN stated to QUIROZ that she needed

to make JACKSON “feel guilty,” and instructed her to write him or call him and tell him that you

talked to Ronnell and tell him that he’s “police.”

        13.        I know that on October 13, 2024, during a jail call, BOWMAN dictated a message

that BOWMAN requested QUIROZ send to JACKSON breaking up with him. In various calls and

messages, BOWMAN identifies QUIROZ as his “sister,” although from other messages it is clear

that she is not.

        14.        On October 13, 2024, JACKSON received messages on his jail tablet from

QUIROZ stating in substance:

        I talked to ronnell today- you’re bogus ASB, weird & untrustworthy. he told me for
        the last 3 years he’s been tryna help you prove your innocence just for u to lie on
        him. then you’re over here swearing that you love me if you love why do you KEEP
        trying to keep things from me & I thought we were supposed to tell each other
        everything I’m confused. ronnell all he kept saying is that you police & that it ain’t
        no secret. These lawyers ain’t lying! Paperwork don’t lie bam wtf! just stop trying
        to play me like i’m stupid or something!!! IM NOT DUMB!! be fr.

        15.        On October 13, 2024, JACKSON received another message on his jail tablet from

QUIROZ stating in substance:

        STOP TRYING TO PLAY ME LIKE IM CRZY OR SLOW OR SOMETHING
        WE FR DONE THIS TIME THERES NO MAYBES OR NOTHING THIS TIME
        GO BE WITH THAY BITCH YOU BEEN TALKING TO THIS WHOLE TIME
        YOU’VE BEEN TALKING TO ME AND DON’T LIE BAM LIKE FOREAL
        RONNIE YOU CAN GLADLY GO FUCK YOURSELF AND THAT BITCH 6
        MONTHS AGO I KNEW I WASNT GOING TRIPPING WHEN YOUR
        BABYMOMS SAID SHE GONE SLAP ME AND FIGHT ME SHIT
        WHATEVER TF TO CHRISSY YOU ONEW EXACTLY WHO TF SHE WAS
        TALKING ABOUT YOURE WEIRD ASAB SO NOW GO KILL YOURSELF
        FR YOU FUCKED UP FR AND I EXPECT YOU GET THE KARMA YOU
        DESERVE BECAUSE IVE BEEN NOTHING BUT LOYAL AND
        TRUSTWORTHY TO YOU IVE BELIEVED EVERY LIE YOU’VE EVER
        TOLD ME IDK HOW U CAN LOOK AT ME AND SAY YOU LOVE ME SMH
        I DONT EVER WANNA TALK TOL YOU EVER AGAIN U SICK ASF.

                                                  4

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       16.    I am also aware from reviewing JACKSON’s communications that JACKSON

received a text on his jail tablet that closely mirrors the message that BOWMAN directed QUIROZ

to send and dictated to QUIROZ:

       “Idk how you sleep at night so knowing you lying on people just to get out of jail
       especially on people u claim their your brothers gtfoh you bogus asab you weird
       asf… I don’t wanna deal with you anymore atp are you going to tell on me one
       day???? Be fr go text your other bitches I can’t be seen in public with yo police
       ass!!!!!”

       17.    I also know that on October 13, 2024, BOWMAN began calling other individuals

and attempting to locate a “Big Mike” in Kenosha. In those jail calls, BOWMAN’s descriptions

suggested that “Big Mike” was a corrections officer at Kenosha County Detention Center. In jail

calls on October 13, 2024, and October 14, 2024, BOWMAN spoke with an unknown male at call

number 224-430-3644 and described “Big Mike” as the “the stud bitch from Kenosha,” “the one

my n****s was busting a move with,” and “the ugly d*ke bitch with the shoe store.” The unknown

male asks: “Is she a CO?” BOWMAN confirmed that she is and describes her as short ,with dreads

and from Racine. BOWMAN also described other possible corrections officers at Kenosha County

Detention Center. BOWMAN stated that he was attempting to reach “Big Mike” or “Duncan.”

       18.    On October 27, 2024, BOWMAN spoke with the unknown male using 224-430-

3644 and the unknown male indicated to BOWMAN that he found “Big Mike’s” Facebook page.

BOWMAN instructed the unknown male to send the pictures to BOWMAN’s girl. BOWMAN

provided the phone number for QUIROZ. Based on the context of the call, BOWMAN then

appears to be looking at the photos as he speaks to the unknown male. BOWMAN confirms that

the female is “Big Mike.” I reviewed text messages sent to and from BOWMAN’s jail messaging

accounts, which revealed that on October 27, 2024, BOWMAN received a series of photos from




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      Case 2:24-mj-00560-SCD          Filed 11/29/24     Page 11 of 27      Document 1
QUIROZ which were screenshots of a female’s Facebook profile. BOWMAN responds to

QUIROZ: “Yes that’s her sis, write her & say, “hey, my brother said what’s up how you been”?”

        19.     I am aware that QUIROZ sent BOWMAN several screenshots from Facebook

profiles on jail messages, and that approximately 30 minutes after receiving the last photograph

with the caption “Nycole Franklinn,” BOWMAN responds by message on his jail tablet: “Hell yea

thats her, add her on both pages, tell her i said 'whats up, how she been'??”Approximately 30

minutes after receiving the last photograph with the caption “Nycole Franklinn,” BOWMAN

responds by message on his jail tablet: “Hell yea thats her, add her on both pages, tell her i said

'whats up, how she been'??”

        20.     I conducted a search of publicly available Facebook profiles and located the

relevant Facebook accounts.        Specifically, QUIROZ’s Facebook account is located at

https://www.facebook.com/KenyaaTooSmoov. The two accounts sent to QUIROZ as described

above         are     located      at:      https://www.facebook.com/Nicole.Brooks32           and

https://www.facebook.com/100076202826625, which has the profile name “Moneyy Seed”.

        21.     I noted that QUIROZ’s Facebook account was currently friends with the

MONEYYSEED Facebook account.

        22.     I filed preservation requests with Facebook on the following three accounts:

        a.      https://www.facebook.com/KenyaaTooSmoov

        b.      https://www.facebook.com/Nicole.Brooks32

      c.     https://www.facebook.com/100076202826625 (The profile name for this account
is Moneyy Seed).

        23.     On October 29, 2024, I conducted an interview with a confidential witness (CW)

regarding a separate, but related, witness tampering allegation involving BOWMAN.              CW

described how he had previously been incarcerated with BOWMAN at the Kenosha County

                                                 6

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Detention Center for several months. CW was asked if he was familiar with any correctional

officers at KCDC, and CW mentioned several, including a woman he referred to as “Big Mike.”

CW stated that “Big Mike” was a corrections officer at KCDC who had been there at the same

time as BOWMAN, and that at the time CW left the jail, BOWMAN and other inmates were in

the process of convincing “Big Mike” to do improper things for them such as smuggling in

telephones or vape pens. CW described several other KCDC guards including one named

“Dunkin.”

       24.    In the interview CW stated that while in custody at Dodge Correctional, he was

approached by two individuals, Jaquan Wright and Jalen Williams, who he knew to be associates

with BOWMAN. CW stated that Williams told him “We have to holler at you”, “We got a message

from Bowman” and “I read your statement from Ronny Bow, it’s bogus what you said. We know

where your grandma is at, and we are gonna put a bag on your head, no matter where you go.”

       25.    Based on the earlier jail calls and messages between BOWMAN and the unknown

male and BOWMAN and QUIROZ, I obtained photos of Monique Nicole Grant (DOB:

06/21/1994), who is a corrections officer at the Kenosha County Detention Center and confirmed

that GRANT’s photo is consistent with the photos that QUIROZ sent to BOWMAN and that

BOWMAN identified as “Big Mike.” I showed a photograph of Monique Grant to CW, who

confirmed that GRANT was the corrections officer at KCDC referred to as “Big Mike.”

       26.    On October 27, 2024, BOWMAN sent a message to another person listing the

account information for MONIQUE GRANT as follows: “*Moneyy Seed “Nycole Franklinn (Ms.

Grant).”

       27.    Between October 16, 2024, and October 25, 2024, I also noted messages between

BOWMAN and “Naomi Davis,” where BOWMAN appears to direct Davis to have a male inmate



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      Case 2:24-mj-00560-SCD         Filed 11/29/24     Page 13 of 27     Document 1
get to the area of KCDC where BOWMAN apparently believes that JACKSON is housed. On

October 16, 2024, BOWMAN asks if Davis’s contact had made it to “KCDC yet? If so ask him

what unit he on?” and says that his “lil guy\ well old lil guy just got here he on some super police

ass shit smh.” BOWMAN tells Davis to “tell folks he gotta get back to the back where we used to

be. Catch a ticket, he know what to do.” In these messages, BOWMAN appears to inform Davis

that JACKSON (his “lil guy\ well old lil guy”) is a suspected cooperator (“he on some super police

ass shit smh”), and then directs the male through Davis to JACKSON’s suspected location at

KCDC (“get back to back where we used to be. Catch a ticket, he know what to do.”).

       28.     This investigation eventually identified the male at KCDC as Charles Woodhouse.

A keep-separate order has been placed, preventing Woodhouse from having contact with

JACKSON. However, I am aware from BOWMAN’s messages to Woodhouse through Davis that

Bowman asked Woodhouse to do two additional tasks.

       29.     I am aware that on November 6, 2024, Davis informed BOWMAN that “Sco on d

south w that Ronnl Jackson n****”. BOWMAN responds: “Tell Sco dude police, he supposed to

be my brother folks agreed to lie on me smh” and “Tell Sco spread the word dude ass a dirty cop

lmfao stay away from him!!” and “Matter of fact bring it to his attention, ask him about that shit.

Say “I heard you lying & telling on my n***** Bow to get out”.

       30.     I am aware that in subsequent messages BOWMAN asks Davis to “get Ms. Duckins

Facebook or Instagram for me, I need that”!!” and that Davis replies on behalf of Woodhouse that

he will try, although she does not normally work in his area. Days later BOWMAN asks again

“Bro make sure you get that bitch social media for me, don’t forget!!” I am aware that as described

by CW above there is a female KCDC Corrections Officer named Dunkin, and I believe this is

who BOWMAN is referring to.



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       31.    I am aware that Woodhouse has currently been moved to a disciplinary unit at

KCDC. However, it is unclear if that incident was related or unrelated to Woodhouse’s attempts

to be moved closer to JACKSON, “Sco” or “Ms. Duckins.”

       32.    I am aware of a video visit between BOWMAN and QUIROZ which took place

October 29, 2024. In this visit QUIROZ confirmed to BOWMAN that she has made the contact

he requested earlier—stating in summary, that she (meaning GRANT) accepted my friend request

and asked her who is your brother? BOWMAN directed QUIROZ to respond and say, “Ronnie

Bow from KCDC.” QUIROZ asked BOWMAN who the female is and BOWMAN responded that

she works there. BOWMAN asked which page wrote QUIROZ back, and referred to “The

Moneyy Seed” page or the other one? At the end of this video visit, BOWMAN directed QUIROZ

to, in summary, write that “bitch” back and say “Ronnie Bow from KCDC” and BOWMAN said

I need to know what she says so I know (BOWMAN) whether I can ask her for the “bitch number”

or not, and BOWMAN stated that he needs “that bitch number” and needs her “coworker’s

Facebook.”

       33.    I am aware that on November 1, 2024, BOWMAN sent QUIROZ a message asking,

“Did that lady write you back on Facebook?” to which QUIROZ responded “She only opened my

message but not text me back.” To date, QUIROZ has not, to law enforcements’ knowledge,

notified BOWMAN of any response from Grant.

       34.    From the calls and messages, it is clear that BOWMAN has had QUIROZ contact

GRANT at two Facebook pages and is actively seeking to expand on those contacts.

       35.    On November 6, 2024, I sought and obtained a federal search warrant under Case

No. 24-M-516 signed by the Honorable Stephen C. Dries, United States Magistrate Judge, ordering

Facebook to disclose certain records pertaining to the above-mentioned accounts.



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       36.     I have reviewed the return from said warrant, and although it confirmed that the

GRANT’s accounts had recently accepted friend requests from QUIROZ, the returns did not

include messages. In December 2023, Meta announced that it was launching default end-to-end

encryption for all personal chats and calls on Messenger and Facebook. According to Meta, Meta

cannot produce the content of messages. (https://about.fb.com/news/2023/12/default-end-to-end-

encryption-on-messenger/;          https://about.fb.com/news/2024/03/end-to-end-encryption-on-

messenger-explained/).

       37.     I know from both professional and personal experience that many Facebook users

currently access the Facebook and Messenger applications primarily through a mobile phone. I

therefore believe it is reasonable to expect that QUIROZ’s mobile phone, with phone number 414-

530-1918, contains the Facebook application and the messages sent to her by CO Grant.

       38.     The records provided by Meta for Facebook account “Kenya Quiroz” (Account

Identifier: https://www.facebook.com/Kenyaa TooSmoov) lists the name “Kenya Quiroz” and a

current city of Milwaukee, Wisconsin and date of birth of 04/27/1999.. It also lists 414 530-1018

as the number associated with the account, and notes verification of that number on April 24, 2024.

The account is still active as of the date of the warrant production. Throughout October and into

November 2024, a mobile device running the Apple iPhone operating system and the

MessengerLiteforiOS application repeatedly and regularly logs into this Facebook account, and all

“active sessions” as of the warrant return appeared to be on one or more iPhones.

       39.     These records revealed that Grant’s two Facebook pages each are “friends” with

QUIROZ as of the date of the warrant return. “Nycole Franklinn” accepted QUIROZ’s friend

request as of October 27, 2024, and “Moneyy Seed” accepted QUIROZ’s friends request on

November 3, 2024.



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       40.      I know that monitoring of BOWMAN’s custodial messages has revealed that

QUIROZ acts as a sort of hub for BOWMAN’s communications with the co-defendants and the

world outside and that QUIROZ apparently has access to or control over at least some of his funds.

       41.      Regarding communications with codefendants, for instance:

      a. QUIROZ messages BOWMAN on November 4, 2024, a communication from “k”,

           transmitted from an incarcerated co-defendant to QUIROZ by unknown means: “Julio

           and lil A left the same day me and savage stuck here I get sentenced January 2 and he

           get sentenced January 10th…”

      b. On November 13, 2024, in an apparent continuation, BOWMAN tells QUIROZ:

           “Write kmoney & tell dude be looking out for my cousin bricks he just got to dodge

           yesterday, he big, tall & fat.”

      c.     I am aware that “Bricks” is BOWMAN’s fraud co-defendant Marcus Marlbro, that

           “Julio” is fraud codefendant Jaquan Wright, that “savage” is fraud codefendant Ramon

           Savage, and that “Lil A” is fraud codefendant Jalen Williams.

      d. BOWMAN receives messages from “Gabriel Oshogwemoh” that are communications

           from fraud co-defendant (and convicted murderer) Joel Blake, which he then passes to

           QUIROZ: “Jo said can you order him a hygiene bag?”

      e. QUIROZ messages BOWMAN on November 8, 2024: “one of your people text me

           asking about u they said call ‘em 901-907-5808.” Bowman responds, “I think that’s

           my brother Courtney.” And “Text that n***** and tell dude ion got no money to make

           no calls rn, tell dude cash app or apple pay you for me” and “Send him your cash app

           Kenya. The actual screenshot. Then send dude this app and my information tell him to

           add & text me.”



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      f. On November 1, 2024, BOWMAN directs QUIROZ:

               “414-813-3760 send this # the cidnet link sis. Tell her to “add me on there and send
               me some pictures, also let her know if she need help you’ll help her.”

               Later that same day he asks:

               “Did one of my brother’s cash app or apple pay you for me yet? Or yesterday? And
               did you text that #?”

               Regarding finances:

      g. On November 12, 2024, Bowman messages Kenya: “my aunty just cash app you for me

          put it on my books real quick please & thank you.”

      h. Bowman also sends another individual an accounting of his various expenditures, which

          includes entries of $2300, $2000, and $4000 in various months listed as “cash from

          Kenya”.

      i. BOWMAN receives messages from “Debra Moore” which are from “T$” or “Ty”,

          apparently another already-sentenced associate of BOWMAN’s. Bowman directs “Ty”

          that: “My sister #414-530-1918, her name is “Kenya”, anytime you looking for me &

          need to get up with me she’s my emergency contact!!”. (emphasis added).

       42.     I know that QUIROZ also provides three-way calls for BOWMAN for numbers he

wishes to not call directly, both because I am aware of such calls actually being placed, and because

of messages such as this one sent from BOWMAN to QUIROZ November 5, 2024:

               “You got time to give me a 3-way? So I can see what dude bm wants”

       43.     I am aware that while BOWMAN has been using QUIROZ to coordinate his

external communications and a portion of his finances, according to his messages he also has an

ulterior motive for contacting her regularly—to hurt or embarrass JACKSON. This is displayed

by this November 12, 2024, text from BOWMAN to Gabriel Oshogwemoh:



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         “Meanwhile I’m Finns try to milk this bitch Kenya dry. I usually never ask her for shit
         but fuck that she gotta bring something to the table now. She be sending me nudes &
         coming up here to visit me. She already promised me some pussy and a 3-some, I just
         gotta figure this shit out. I’m Finns fuck this bitch and put her on cam on bro I’m Finns
         hurt a n**** feelings.”

         44.    In summary, I believe that BOWMAN began attempting to locate corrections

officers at KCDC as soon as he became aware that JACKSON had been transferred to that facility,

eventually focusing on GRANT, and is currently attempting to communicate with GRANT

through QUIROZ in an attempt to use GRANT to contact JACKSON regarding his cooperation in

this case and therefore, tamper and obstruct an ongoing investigation and prosecution in violation

of 18 U.S.C. § 1512. I believe that QUIROZ phone will also contain her communications with

other co-defendants and associates on BOWMAN’s behalf, including “K$” who is apparently at

Dodge Correctional with CW, another tampering victim of BOWMAN’s. I believe QUIROZ

phone also contains her CashApp information including transfers to and from BOWMAN and on

his behalf. Lastly, I believe QUIROZ’s phone will contain copies of messages directly to

JACKSON, dictated to her by BOWMAN, as well as likely communications to and about other

JACKSON family members, all of which constitutes direct evidence of violations of 18 U.S.C.

§1512.

                                      TECHNICAL TERMS

         45.    Based on my training and experience, I use the following technical terms to convey

the following meanings:

      a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular telephone)
         is a handheld wireless device used for voice and data communication through radio
         signals. These telephones send signals through networks of transmitter/receivers,
         enabling communication with other wireless telephones or traditional “land line”
         telephones. A wireless telephone usually contains a “call log,” which records the
         telephone number, date, and time of calls made to and from the phone. In addition to
         enabling voice communications, wireless telephones offer a broad range of capabilities.
         These capabilities include: storing names and phone numbers in electronic “address

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   books;” sending, receiving, and storing text messages and e-mail; taking, sending,
   receiving, and storing still photographs and moving video; storing and playing back
   audio files; storing dates, appointments, and other information on personal calendars;
   and accessing and downloading information from the Internet. Wireless telephones may
   also include global positioning system (“GPS”) technology for determining the location
   of the device.
b. Digital camera: A digital camera is a camera that records pictures as digital picture files,
   rather than by using photographic film. Digital cameras use a variety of fixed and
   removable storage media to store their recorded images. Images can usually be retrieved
   by connecting the camera to a computer or by connecting the removable storage medium
   to a separate reader. Removable storage media include various types of flash memory
   cards or miniature hard drives. Most digital cameras also include a screen for viewing
   the stored images. This storage media can contain any digital data, including data
   unrelated to photographs or videos.
c. Portable media player: A portable media player (or “MP3 Player” or iPod) is a handheld
   digital storage device designed primarily to store and play audio, video, or photographic
   files. However, a portable media player can also store other digital data. Some portable
   media players can use removable storage media. Removable storage media include
   various types of flash memory cards or miniature hard drives. This removable storage
   media can also store any digital data. Depending on the model, a portable media player
   may have the ability to store very large amounts of electronic data and may offer
   additional features such as a calendar, contact list, clock, or games.

d. GPS: A GPS navigation device uses the Global Positioning System to display its current
   location. It often contains records the locations where it has been. Some GPS navigation
   devices can give a user driving or walking directions to another location. These devices
   can contain records of the addresses or locations involved in such navigation. The
   Global Positioning System (generally abbreviated “GPS”) consists of 24 NAVSTAR
   satellites orbiting the Earth. Each satellite contains an extremely accurate clock. Each
   satellite repeatedly transmits by radio a mathematical representation of the current time,
   combined with a special sequence of numbers. These signals are sent by radio, using
   specifications that are publicly available. A GPS antenna on Earth can receive those
   signals. When a GPS antenna receives signals from at least four satellites, a computer
   connected to that antenna can mathematically calculate the antenna’s latitude, longitude,
   and sometimes altitude with a high level of precision.
e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used for
   storing data (such as names, addresses, appointments or notes) and utilizing computer
   programs. Some PDAs also function as wireless communication devices and are used
   to access the Internet and send and receive e-mail. PDAs usually include a memory card
   or other removable storage media for storing data and a keyboard and/or touch screen
   for entering data. Removable storage media include various types of flash memory
   cards or miniature hard drives. This removable storage media can store any digital data.
   Most PDAs run computer software, giving them many of the same capabilities as
   personal computers. For example, PDA users can work with word-processing

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          documents, spreadsheets, and presentations. PDAs may also include global positioning
          system (“GPS”) technology for determining the location of the device.

      f. IP Address: An Internet Protocol address (or simply “IP address”) is a unique numeric
         address used by computers on the Internet. An IP address is a series of four numbers,
         each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every computer
         attached to the Internet computer must be assigned an IP address so that Internet traffic
         sent from and directed to that computer may be directed properly from its source to its
         destination. Most Internet service providers control a range of IP addresses. Some
         computers have static—that is, long-term—IP addresses, while other computers have
         dynamic—that is, frequently changed—IP addresses.
      g. Internet: The Internet is a global network of computers and other electronic devices that
         communicate with each other. Due to the structure of the Internet, connections between
         devices on the Internet often cross state and international borders, even when the devices
         communicating with each other are in the same state.

       46.      In my training and experience, examining data stored on devices of this type can

uncover, among other things, evidence that reveals or suggests who possessed or used the device.

                   ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       47.      Based on my knowledge, training, and experience, I know that cellular telephones

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can sometimes

be recovered with forensics tools.

       48.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the target

cellphone was used, the purpose of its use, who used it, and when. There is probable cause to

believe that this forensic electronic evidence might be on the target cellphone(s) because:

             a. Data on the storage medium can provide evidence of a file that was once on the
                storage medium but has since been deleted or edited, or of a deleted portion of a
                file (such as a paragraph that has been deleted from a word processing file).



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             b. Forensic evidence on a device can also indicate who has used or controlled the
                device. This “user attribution” evidence is analogous to the search for “indicia of
                occupancy” while executing a search warrant at a residence.
             c. A person with appropriate familiarity with how an electronic device works may,
                after examining this forensic evidence in its proper context, be able to draw
                conclusions about how electronic devices were used, the purpose of their use, who
                used them, and when.
             d. The process of identifying the exact electronically stored information on a storage
                medium that is necessary to draw an accurate conclusion is a dynamic process.
                Electronic evidence is not always data that can be merely reviewed by a review
                team and passed along to investigators. Whether data stored on a computer is
                evidence may depend on other information stored on the computer and the
                application of knowledge about how a computer behaves. Therefore, contextual
                information necessary to understand other evidence also falls within the scope of
                the warrant.
             e. Further, in finding evidence of how a device was used, the purpose of its use, who
                used it, and when, sometimes it is necessary to establish that a particular thing is
                not present on a storage medium.


       49.      Nature of examination.      Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the target cellphone

consistent with the warrant. The examination may require authorities to employ techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose many

parts of the device to human inspection in order to determine whether it is evidence described by

the warrant.

       50.      The warrant I am applying for would permit law enforcement to obtain from certain

individuals the display of physical biometric characteristics (such as fingerprint, thumbprint, or

facial characteristics) in order to unlock devices subject to search and seizure pursuant to this

warrant. I seek this authority based on the following:

             f. I know from my training and experience, as well as from information found in
                publicly available materials published by device manufacturers, that many
                electronic devices, particularly newer mobile devices and laptops, offer their users
                the ability to unlock the device through biometric features in lieu of a numeric or
                alphanumeric passcode or password. These biometric features include fingerprint
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      scanners and facial recognition features. Some devices offer a combination of these
      biometric features, and the user of such devices can select which features they
      would like to utilize.
   g. If a device is equipped with a fingerprint scanner, a user may enable the ability to
      unlock the device through his or her fingerprints. For example, Apple offers a
      feature called “Touch ID,” which allows a user to register up to five fingerprints
      that can unlock a device. Once a fingerprint is registered, a user can unlock the
      device by pressing the relevant finger to the device’s Touch ID sensor, which is
      found in the round button (often referred to as the “home” button) located at the
      bottom center of the front of the device. The fingerprint sensors found on devices
      produced by other manufacturers have different names but operate similarly to
      Touch ID.
   h. If a device is equipped with a facial recognition feature, a user may enable the
      ability to unlock the device through his or her face. For example, Apple offers a
      facial recognition feature called “Face ID.” During the Face ID registration
      process, the user holds the device in front of his or her face. The device’s camera
      then analyzes and records data based on the user’s facial characteristics. The device
      can then be unlocked if the camera detects a face with characteristics that match
      those of the registered face. Facial recognition features found on devices produced
      by other manufacturers have different names but operate similarly to Face ID.
   i. In my training and experience, users of electronic devices often enable the
      aforementioned biometric features because they are considered to be a more
      convenient way to unlock a device than by entering a numeric or alphanumeric
      passcode or password. Moreover, in some instances, biometric features are
      considered to be a more secure way to protect a device’s contents. This is
      particularly true when the users of a device are engaged in criminal activities and
      thus have a heightened concern about securing the contents of a device.
   j. As discussed in this affidavit, based on my training and experience I believe that
      one or more digital devices will be found during the search. The passcode or
      password that would unlock the device(s) subject to search under this warrant is not
      known to law enforcement. Thus, law enforcement personnel may not otherwise be
      able to access the data contained within the device(s), making the use of biometric
      features necessary to the execution of the search authorized by this warrant.
   k. I also know from my training and experience, as well as from information found in
      publicly available materials including those published by device manufacturers,
      that biometric features will not unlock a device in some circumstances even if such
      features are enabled. This can occur when a device has been restarted, inactive, or
      has not been unlocked for a certain period of time. For example, Apple devices
      cannot be unlocked using Touch ID when (1) more than 48 hours has elapsed since
      the device was last unlocked or (2) when the device has not been unlocked using a
      fingerprint for 4 hours and the passcode or password has not been entered in the
      last 156 hours. Biometric features from other brands carry similar restrictions.
      Thus, in the event law enforcement personnel encounter a locked device equipped


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                with biometric features, the opportunity to unlock the device through a biometric
                feature may exist for only a short time.
             l. In my training and experience, the person who is in possession of a device or has
                the device among his or her belongings at the time the device is found is likely a
                user of the device. However, in my training and experience, that person may not be
                the only user of the device whose physical characteristics are among those that will
                unlock the device via biometric features, and it is also possible that the person in
                whose possession the device is found is not actually a user of that device at all.
                Furthermore, in my training and experience, I know that in some cases it may not
                be possible to know with certainty who is the user of a given device, such as if the
                device is found in a common area of a premises without any identifying information
                on the exterior of the device.
             m. Due to the foregoing, if law enforcement personnel encounter a device that is
                subject to search and seizure pursuant to this warrant and may be unlocked using
                one of the aforementioned biometric features, the warrant I am applying for would
                permit law enforcement personnel to (1) press or swipe the fingers (including
                thumbs) of KENYA QUIROZ to the fingerprint scanner of the device; (2) hold the
                device in front of the face of KENYA QUIROZ and activate the facial recognition
                feature, for the purpose of attempting to unlock the device in order to search its
                contents as authorized by this warrant.
                                          CONCLUSION

       51.      I submit that this affidavit supports probable cause for a warrant to search the

person of and personal effects in the immediate control of KENYA QUIROZ (DOB: 04/27/1999)

and to seize QUIROZ’s cellular device (“target cellphone(s)”), and the extraction from that target

cellphone(s) of the electronically stored information described in Attachment B, for evidence of

witness tampering by BOWMAN and QUIROZ, in violation of 18 U.S.C. § 1512.




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                                       ATTACHMENT A

                              Person and Property to Be Searched

The person to be searched is KENYA QUIROZ (DOB: 04/27/1999).


The property to be searched is any cellular device (“the target cellphone(s)”) found on the person,

in the presence of, or in the personal effects in the immediate control of KENYA QUIROZ (DOB:

04/27/1999).


During the execution of the search described in Attachment A, law enforcement personnel are

authorized to (1) press or swipe the fingers (including thumbs) of KENYA QUIROZ (DOB:

04/27/1999) to the fingerprint scanner of the target cellphone(s); (2) hold the target cellphone(s)

in front of the face of KENYA QUIROZ (DOB: 04/27/1999) and activate the facial recognition

feature, for the purpose of attempting to unlock the device in order to search the contents as

authorized by this warrant.




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                                      ATTACHMENT B

                                      Items to be Seized

       All records and information contained in the target cellphone(s), more fully described in

Attachment A, that relate to violations of 18 U.S.C. §1512, involving Ronnell BOWMAN, Kenya

QUIROZ, or their co-conspirators, including but not limited to the following:


       1.     Any contacts, messages, or communications between GRANT, QUIROZ,

              BOWMAN, or his associates.

       2.     Any records and information about Ronnie JACKSON.

       3.     Any records and information about attempting to locate, contact, or intimidate

              particular inmates at the Kenosha County Detention Center by BOWMAN or his

              associates.

       4.     Any records and information about pending criminal cases involving Ronnell

              BOWMAN.

       5.     Any records and information relating to Monique GRANT’s Facebook account,

              and the custody and control of that account.

       6.     Any records and information relating to Kenya QUIROZ’s Facebook account, and

              the custody and control of that account.

       7.     Any records and information about the Wild 100’s or the Shark Gang.

       8.     Evidence of user attribution showing who used or owned the target cellphone(s) at

              the time the things described in this warrant were created, edited, or deleted, such

              as logs, phonebooks, saved usernames and passwords, documents, and browsing

              history.




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       As used above, the terms “records” and “information” include all of the foregoing items of

evidence in whatever form and by whatever means they may have been created or stored.

       This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be conducted

by any government personnel assisting in the investigation, who may include, in addition to law

enforcement officers and agents, attorneys for the government, attorney support staff, and technical

experts.




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